Case 2:03-cv-02843-BBD-dkv Document 23 Filed 08/29/05 Page 1 of 2 Page|D 40

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IN THE UNITED STATES DISTRICT coURT 05 AUG 29 PH -

FoR THE WESTERN DISTRICT oF TENNESSEE '*‘ 2 3
WESTERN DIVISION THOMAS M,

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-"" -"'4. .i“§)‘.in-ILS
BENNIE L. COBB,
Plaintiff, Case No.: 03-2843 D V

V.

SHELBY COUNTY, TENNESSEE,

Defendant.

 

ORDER STRIKING MOTIONS DOCUMENT NOS. 15 AN`D 19

lt appears that the parties have resolved the issues in this case. Accordingly, the motion in

limine at Document Nos. 15 and 19 are hereby stricken as moot.

IT ls so 0R1)ERED this @?? day of@?¢L, 2005.

  

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This notice confirms a copy ofthe document docketed as number 23 in
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Honorable Bernice Donald
US DISTRICT COURT

